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17
                      IN THE UNITED STATES DISTRICT COURT
18
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
                                  SOUTHERN DIVISION
20
21   MASIMO CORPORATION,                   ) Case No. 8:20-cv-00048-JVS-JDE
     a Delaware corporation; and           )
22   CERCACOR LABORATORIES, INC.,          ) PLAINTIFFS’ STATEMENT OF
     a Delaware corporation                ) UNCONTROVERTED FACTS AND
23                                         ) CONCLUSIONS OF LAW IN
              Plaintiffs,                  ) SUPPORT OF PLAINTIFFS’
24                                         ) MOTION FOR PARTIAL
         v.                                ) SUMMARY JUDGMENT
25                                         )
     APPLE INC., a California corporation )) Date:
                                              Time:
                                                          February 6, 2022
                                                          1:30 p.m.
26                                         )  Location:   Courtroom  10C
              Defendant.                   )
27
                      REDACTED VERSION     ) OF DOCUMENT
28                    PROPOSED TO BE FILED UNDER SEAL
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1    6.    Masimo maintains the confidentiality of          Hammarth Decl. ¶¶ 22-28;
2                              by restricting physical      Muhsin Decl. ¶¶ 4-6.
3          and electronic access to employees whose
4          responsibilities require access to such
5          information.
6    7.    Masimo’s physical access controls include        Hammarth Decl. ¶¶ 26-28;
7          individually coded employee key cards that       Muhsin Decl. ¶¶ 4-5.
8          limit access to controlled areas, as well as
9          requiring visitors to check-in, provide
10         identification information that is recorded in
11         a visitor log, and be escorted by employees.
12   8.    Masimo has written policies instructing          Exs. 3-7 (Masimo Policies
13         employees how to handle computer                 and Procedures), 9-11
14         resources to ensure that systems remain          (Masimo Confidentiality
15         secure and information stays protected.          Agreements), 13 (Cercacor
16                                                          Confidentiality Agreement),
17                                                          14-16 (Cercacor Policies);
18                                                          Muhsin Decl. ¶¶7-12.
19   9.    Masimo provides ongoing training to ensure Muhsin Decl. ¶ 12;
20         employees understand and adhere to               Hammarth Decl. ¶29;
21         company policies about protecting                Ex. 4 (Masimo Information
22         confidential information.                        Technology Training Policy
23                                                          & Procedure).
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1    10.   Masimo provides information about            Ex. 41 (Miller Depo.) at
2          Masimo’s policies and procedures to new      16:10-17:8, 23:2-11,
3          employees and requires employees sign        25:24-27:19, 29:5-8;
4          confidentiality agreements to preserve the   Miller Decl. ¶¶ 7-8;
5          secrecy of Masimo’s confidential             Ex. 42 (Hammarth Depo.) at
6          information.                                 125:21-126:14;
7                                                       Kiani Decl. ¶ 6;
8                                                       Exs. 9-11 (Masimo
9                                                       Confidentiality
10                                                      Agreements), 13 (Cercacor
11                                                      Confidentiality Agreement),
12                                                      14-16 (Cercacor Policies).
13   11.   Masimo’s electronic controls include         Hammarth Decl. ¶¶ 22-25;
14         hardware and software security measures      Muhsin Decl. ¶6.
15         that limit access to electronically stored
16         confidential information to specific
17         employees.
18   12.   When a Masimo employee leaves, the           Miller Decl. ¶¶ 9-10;
19         employee completes an exit process that      Hammarth Decl. ¶¶ 29-30.
20         include an exit interview, providing the
21         employee with a copy of the employee’s
22         confidential agreements, reminding the
23         employee of ongoing confidentiality
24         obligations, and recovering all company
25         information and equipment, including any
26         documents, computers, phones, and
27         keycards.
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1    13.   In 2000, as part of his initial onboarding   Ex. 9 (2000 Confidentiality
2          process, Lamego signed an employee           Agreement);
3          confidentiality agreement with Masimo        Miller Decl. ¶12.
4          Corp.
5    14.   Before working at Masimo, Lamego had no      Ex. 17 (Lamego 7/12 Depo.)
6          experience developing patient monitoring     at 29:13-16;
7          technology.                                  Kiani Decl. ¶ 9.
8    15.   In 2003, Lamego signed a confidentiality     Exs. 10 (2003
9          agreement with Masimo Corp.                  Confidentiality Agreement),
10                                                      17 (Lamego 7/12 Depo.) at
11                                                      35:11-15;
12                                                      Miller Decl. ¶12.
13   16.   On January 31, 2005, Lamego signed           Ex. 11 (2005 Confidentiality
14         another confidentiality agreement with       Agreement);
15         Masimo Corp.                                 Miller Decl. ¶12.
16   17.   While working at Masimo, Lamego shared       Ex. 17 (Lamego 7/12 Depo.)
17         an office with Mohamed Diab, Masimo’s        at 38:13-15;
18         then Chief Technical Officer.                Kiani Decl. ¶ 9;
19                                                      Diab Decl. ¶ 32.
20   18.   Diab taught Masimo’s technology to           Kiani Decl. ¶ 9;
21         Lamego.                                      Diab Decl. ¶32.
22   19.   Lamego worked at Masimo Corp. until          Ex. 17 (Lamego 7/12 Depo.)
23         2006, at which time Lamego began working at 42:15-25;
24         at Cercacor, then known as Masimo Labs.      Kiani Decl. ¶9.
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1    20.   From February 2007 to January 2014,         Exs. 13 (2007
2          Lamego was Cercacor’s CTO.                  Confidentiality Agreement),
3                                                      40 (Email);
4                                                      Hammarth Decl. ¶¶ 10, 35;
5                                                      Kiani Decl. ¶9.
6    21.   Lamego signed a confidentiality agreement   Ex. 13 (Confidentiality
7          with Cercacor.                              Agreement);
8                                                      Hammarth Decl. ¶ 10.
9    22.   Jeroen Poeze was a Cercacor engineer from   Poeze Decl. ¶¶ 1-2
10         2007 to March 2021, and reported to
11         Lamego from 2007 to 2014.
12   23.   Poeze worked with Lamego to develop         Poeze Decl. ¶¶ 5-22;
13                                                     Ex. 8 (Poeze Notebook)
14                                                     at -907, -933-936, .
15   24.   Lamego worked on Masimo’s rainbow®          Diab Decl. ¶ 32.
16         technology.
17   25.   Including through his work on Masimo’s      Diab Decl. ¶¶ 2, 6-7, 13, 15,
18         rainbow® products, Lamego learned of        19, 25, 28, 32;
19                                                     Kiani Decl. ¶ 4.
20                                                     Madisetti Decl. ¶¶ 47-59;
21                                                     Hammarth Decl. ¶¶ 33, 34;
22                                                     Ex. 39 (Walt Weber Depo.)
23                                                     at 59:18-61:12.
24   26.   Lamego worked on Masimo’s Pronto-7          Poeze Decl. ¶¶ 2-22;
25         product.                                    Hammarth Decl. ¶ 34;
26                                                     Exhibit 8 (Poeze Notebook).
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1    27.   Including through his work with Poeze and   Poeze Decl. ¶¶ 2-22;
2          his work on Masimo’s Pronto-7 project,      Hammarth Decl. ¶ 34;
3          Lamego learned of                           Madisetti Decl. ¶¶ 60-88;
4                                                      Ex. 74 (Pronto-7 Operator’s
5                                                      Manual) at -687, -699, -701;
6                                                      Ex. 71 at -97;
7                                                      Ex. 72 (emails);
8                                                      Ex. 43 (email) at -37;
9                                                      Ex. 8 (Poeze Notebook)
10                                                     at -907, -933 to -937;
11   28.                                               Ex. 19 (Hotelling Depo.) at
12                                                     36:19-37:6;
13                                 .                   Exs. 20-21 (Apple emails).
14   29.                                               Ex. 21 (Apple email)
15                                                     at -191;
16                                                     Ex. 22 (Apple email) at
17                                                     106, -109.
18   30.                                               Ex. 23 (Apple emails with
19                                                     Masimo) at -627;
20                                                     Kiani Decl. ¶ 18.
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23   31.                                               Ex. 24
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25                             .                       Kiani Decl. ¶ 21.
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1    32.   In July 2013, Apple hired Dr. Michael       Kiani Decl. ¶¶ 19-20;
2          O’Reilly, Masimo Corp.’s then Chief         Ex. 27 (O’Reilly Depo.) at
3          Medical Officer.                            286:17-287:6;
4                                                      Ex. 33 (Apple Rog
5                                                      Responses) at 27.
6    33.                                               Kiani Decl. ¶¶ 13-14;
7                                                      Ex. 2 (Lamego email to
8                                                      Kiani).
9    34.                                               Kiani Decl. ¶¶ 16-17.
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12   35.   On October 2, 2013, around 1 a.m., Lamego Ex. 28 (Lamego email to
13         emailed Tim Cook, offering to use his ten   Cook).
14         years of knowledge from working at
15         Masimo to help Apple in exchange for a
16         “senior technical executive position.”
17   36.                                               Ex. 29 (Apple emails)
18                                                     at -008.
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21   37.                                               Ex. 29
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1    38.   In January 21, 2014, as part of his                Ex. 16 (Employee
2          separation process, Lamego signed an               Acknowledgment form);
3          employee acknowledgement form,                     Hammarth Decl. ¶¶ 35-36.
4          certifying, among other things, that he
5          received a copy of his signed confidentiality
6          agreement and, during Lamego’s exit
7          interview, Hammarth reminded Lamego
8          about the importance of his confidentiality
9          agreement and his obligation to maintain
10         that confidentiality of trade secrets and
11         confidential business information.
12   39.                                                      Ex. 33 (Apple Rog
13                                                            Responses) at 27.
14   40.   In January 2014, Masimo warned Apple               Ex. 34 (Masimo letter to
15         that Lamego possessed Masimo’s trade               Apple).
16         secrets.
17   41.   Apple continued to recruit Masimo                  Exs. 32
18         employees after hiring Lamego
19                                                     Apple 33 (Apple Rog Responses)
20         has since hired at least 20 people who             at 16-18, 27.
21         worked for Masimo.
22   42.                                                      Exs. 35, 47, 52, 53.
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1     45.                                                  Ex. 33 (Apple Rog
2                                                          Responses) at 27.
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23                              II. CONCLUSIONS OF LAW
24          1.   Legal Standard
25          1.   The elements of a claim for misappropriation under the California Uniform
26   Trade Secret Act are (1) the existence and possession of a trade secret, and
27   (2) misappropriation of the trade secret. Cal. Civ. Code § 3426.1.
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1          2.     Under the California Uniform Trade Secret Act a trade secret is information
2    that: (1) derives independent economic value, actual or potential, from not being
3    generally known to the public or to other persons who can obtain economic value from
4    its disclosure or use; and (2) is the subject of efforts that are reasonable under the
5    circumstances to maintain its secrecy. Cal. Civ. Code § 3426.1(d).
6          3.     “The standard to show that trade secrets derive [independent] economic
7    value is not a high standard.” Cisco Sys., Inc. v. Chung, 462 F. Supp. 3d 1024, 1052
8    (N.D. Cal. 2020), quoting Calendar Rsch. LLC v. StubHub, Inc., No. 2:17-CV-04062-
9    SVW-SS, 2017 WL 10378336, at *4 (C.D. Cal. Aug. 16, 2017). “To have independent
10   economic value, a trade secret must be sufficiently valuable and secret to afford an actual
11   or potential economic advantage over others.” Id.
12         4.     “The [generally known] inquiry is not whether the alleged trade secret has
13   been publicly disclosed at all, but whether it has become ‘generally known to the
14   relevant people, i.e., potential competitors or other persons to whom the information
15   would have some economic value[.]’” Kittrich Corp. v. Chilewich Sultan, LLC, No.
16   CV1210079GHKARGX, 2013 WL 12131376, at *4 (C.D. Cal. Feb. 20, 2013), quoting
17   DVD Copy Control Ass’n, Inc. v. Bunner, 116 Cal. 4th 241, 251 (2004)).
18         5.     The core inquiry is whether the owner of the information derives value in
19   keeping the information secret from persons who could exploit it to the relative
20   disadvantage of the original owner. Yield Dynamics, Inc. v. TEA Systems Corp., 154
21   Cal. App. 4th 547, 568 (2007). Information is protectable as a trade secret if it continues
22   to provide a business advantage over a competitor. Morlife, Inc. v. Perry, 56 Cal. App.
23   4th 1514, 1521–22 (1997).
24         6.     Finding aspects of the trade secret across various publications and applying
25   a patent-like obviousness analysis does not render the trade secret generally known
26   under CUTSA. See Imi-Tech Corp. v. Gagliani, 691 F. Supp. 214, 231 (S.D. Cal. 1986)
27   (“The defendants’ attempts to show that Imi-Tech’s alleged trade secrets were known in
28   the prior art also fail to provide a defense for the defendants, since it is not required that
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1    a trade secret be patentably nonobvious or novel.”).         “‘[O]bviousness’ is not the
2    benchmark” in trade secrets action. Am. Can Co. v. Mansukhani, 728 F.2d 818, 819 (7th
3    Cir. 1982).
4          7.      A defendant is liable for trade secret misappropriation by acquisition if, at
5    the time of acquisition, they knew or had reason to know that the trade secret was
6    acquired by improper means. Cal. Civ. Code § 3426.1(b)(1).
7          8.      “Improper means” includes “breach or inducement of a breach of a duty to
8    maintain secrecy . . . .” Cal. Civ. Code § 3426.1(b)(1).
9          9.      A defendant is liable for trade secret misappropriation by disclosure or use
10   if, at the time of disclosure or use, they knew or had reason to know that Apple’s
11   knowledge of the trade secret was: (i) Derived from or through a person who had utilized
12   improper means to acquire it; (ii) Acquired under circumstances giving rise to a duty to
13   maintain its secrecy or limit its use; or (iii) Derived from or through a person who owed
14   a duty to the person seeking relief to maintain its secrecy or limit its use. Cal. Civ. Code
15   § 3426.1(b)(2).
16         10.     A plaintiff bears the burden of proving trade secret misappropriation by a
17   preponderance of the evidence. Sargent Fletcher, Inc. v. Able Corp., 110 Cal. App. 4th
18   1658, 1667 (2003).
19         2.      Apple Misappropriated The Asserted Trade Secrets Under The
20                 California Uniform Trade Secrets Act
21                 a.     Masimo’s Trade Secrets Are Protectable
22         11.     There is no genuine dispute of material fact that Masimo’s Trade Secrets
23   D-9 through D-15 meet the requirements of Cal. Civ. Code § 3426.1(d)(1), because they
24   derive independent economic value from not being generally known to the public or to
25   other persons who can obtain economic value from their use particularly to those in the
26   field of noninvasive blood content estimators.
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1          12.    There is no genuine dispute of material fact that Masimo’s Trade Secrets
2    D-9 through D-15 meet the requirements of Cal. Civ. Code § 3426.1(d)(2), because
3    Masimo made reasonable efforts to maintain their secrecy.
4                 b.    Apple Misappropriated The Trade Secrets D-9 Through D-15
5          13.    There is no genuine dispute of material fact that Apple acquired Trade
6    Secrets D-9 through D-15 while knowing, or having reason to know, that the trade
7    secrets were acquired by improper means. Cal. Civ. Code § 3426.1(b)(1).
8          14.    There is no genuine dispute of material fact that Apple disclosed and used
9    Trade Secrets D-9 through D-15 while knowing, or having reason to know, that it
10   acquired Trade Secrets D-9 through D-15 through improper means. Cal. Civ. Code
11   § 3426.1(b)(2)(B)(i).
12         15.    There is no genuine dispute of material fact that Apple disclosed and used
13   Trade Secrets D-9 through D-15 while knowing, or having reason to know, that it
14   acquired Trade Secrets D-9 through D-15 under circumstances giving rise to a duty to
15   maintain their secrecy or limit their use. Cal. Civ. Code § 3426.1(b)(2)(B)(ii).
16         16.    There is no genuine dispute of material fact that Apple disclosed and used
17   Trade Secrets D-9 through D-15 while knowing, or having reason to know, that Trade
18   Secrets D-9 through D-15 were derived from Lamego who owed a duty to Masimo to
19   maintain their secrecy or limit their use. Cal. Civ. Code § 3426.1(b)(2)(B)(iii).
20         17.    D-9: There is no genuine dispute of material fact that Apple
21   misappropriated Trade Secret D-9 by improperly acquiring, using, and disclosing the
22   trade secret. Cal. Civ. Code §§ 3426.1(b)(1), (b)(2)(B)(i-iii).
23         18.    D-10: There is no genuine dispute of material fact that Apple
24   misappropriated Trade Secret D-10 by improperly acquiring, using, and disclosing the
25   trade secret. Cal. Civ. Code §§ 3426.1(b)(1), (b)(2)(B)(i-iii).
26         19.    D-11: There is no genuine dispute of material fact that Apple
27   misappropriated Trade Secret D-11 by improperly acquiring, using, and disclosing the
28   trade secret. Cal. Civ. Code §§ 3426.1(b)(1), (b)(2)(B)(i-iii).
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1          20.    D-12: There is no genuine dispute of material fact that Apple
2    misappropriated Trade Secret D-12 by improperly acquiring, using, and disclosing the
3    trade secret. Cal. Civ. Code §§ 3426.1(b)(1), (b)(2)(B)(i-iii).
4          21.    D-13: There is no genuine dispute of material fact that Apple
5    misappropriated Trade Secret D-13 by improperly acquiring, using, and disclosing the
6    trade secret. Cal. Civ. Code §§ 3426.1(b)(1), (b)(2)(B)(i-iii).
7          22.    D-14: There is no genuine dispute of material fact that Apple
8    misappropriated Trade Secret D-14 by improperly acquiring, using, and disclosing the
9    trade secret. Cal. Civ. Code §§ 3426.1(b)(1), (b)(2)(B)(i-iii).
10         23.    D-15: There is no genuine dispute of material fact that misappropriated
11   Trade Secret D-15 by improperly acquiring, using, and disclosing the trade secret. Cal.
12   Civ. Code §§ 3426.1(b)(1), (b)(2)(B)(i-iii).
13         3.     Apple’s Use and Disclosure of Masimo’s Trade Secrets Harms
14                Masimo
15         24.    There is no genuine dispute of material fact that Apple improperly acquired,
16   used, and disclosed Masimo’s trade secrets.
17         25.    There is no genuine dispute of material fact that Apple obtained a patent
18   claiming Masimo’s trade secrets.
19         26.    There is no genuine dispute of material fact that Apple improperly claimed
20   ownership of Masimo’s trade secrets and the right to exclude Masimo from practicing
21   its own trade secrets.
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